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                              DECLARATION OF BRANDON J. BUSKEY

                  I, Brandon J. Buskey, hereby declare under penalty of perjury:

    I. I am a Senior Staff Attorney with the Criminal Law Refo1m Project ("CLRP") at the

American Civil Liberties Union Foundation ("ACLU"), where I have worked full time since

2012. I am one of the attorneys for the named Plaintiffs and the putative Class members in this

case. I submit this Declaration in suppo1t of the motion for class certification.

    2. I was first licensed in 2007 and have continuously practiced law since that time. A copy

of my current resume is attached.

   3. My colleague and co-counsel Randall C. Marshall was first licensed in 1982 and has

practiced law continuously since that time. He is currently the Legal Director for the American

Civil Libe1ties Union of Alabama. A copy of his current resume is attached. He has been counsel

of record in numerous class actions, including most recently, Hunter v. Perdue, No. 2: l 6cv798

(M.D. Ala.), and Strawser v. Strange, No. 1: 14-cv-424 (S.D. Ala.).

   4. I have been lead counsel of record in two class actions: Burks v. Scott County, No. 3:14-

cv-745-HTW-LRA (S.D. Miss.) and Yarls v. Bunton, No. 3:16-cv-31-JJB-RLB (M.D. La.).

   5. CLRP has developed substantial experience related to the constitutionality of bail

procedures. Burks, referenced above, included a challenge to a Mississippi judicial circuit's

system of wealth-based, pretrial detention without counsel for felony arrestees. We recently

reached a settlement with the judges and counties of the circuit that, if approved by the federal

district court, would end this practice. Last year, I lead a successful effort in Birmingham,

Alabama, to ensure prompt, individualized hearings with counsel for all felony a!Testees. We

accomplished reform by collaborating with local judges, the district attorney, and the public

defender.   CLRP also coordinates with and advises ACLU affiliate offices on potential bail

reform and litigation efforts in states such as Oklahoma, Texas, Flo1ida, and Louisiana.

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   6. The ACLU, along with CRC and SPLC, has spent substantial time and effort to

investigate this case and to understand how the Randolph County court functions. This includes

working with co-counsel to review jail records and court case files; notes of interviews with

individuals detained under the bail system in. Randolph County, and notes of interviews with

court officials about their bail practices. Our preparation has also included substantial research

on Alabama' s constitutional and statutory protections for pretrial liberty

   7. The ACLU, in conjunction with the Civil Rights Corps and Southern Poverty Law Center,

has sufficient funds available to litigate this case. Pl aintiffs ' counsel have paid for all costs

associated with this litigation to date, and will continue to do so.


       I declare under penalty of pe1jury that the foregoing is true and conect.

Executed on this 18th day of May, 2017.




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                                                   BRANDON BUSKEY
                   125 Broad Street, 18th FL, New York, NY 10004; Phone: 212-284-7364; Email: bbuskey@gmail.com

                                                        EDUCATION

NEW YORK UNIVERSITY SCHOOL OF LAW, New York, New York
J.D., Cum Laude, May 2006
Honors:          Root-Tilden-Kern Scholarship – Selected for public service, academic merit, and leadership
                 An-Bryce Scholarship – Full tuition scholarship for 1st generation graduate students
                 Christian Jarecki Memorial Prize – For outstanding clinical achievement
                 Moot Court Board Staff Member – Selected to Nationals Competition by Board
                 Law School Commencement Speaker

NORTH CAROLINA STATE UNIVERSITY, Raleigh, North Carolina
B.A. in Psychology with Honors, French Minor, May 2002.
Honors:         Valedictorian, Phi Beta Kappa, Phi Kappa Phi
                Harry S. Truman Scholarship – Graduate scholarship for exceptional commitment to public service
                Park Scholar – Full scholarship based on leadership, scholarship, and service

                                                       EXPERIENCE

AMERICAN CIVIL LIBERTIES UNION – CRIMINAL LAW REFORM PROJECT, New York, NY
Senioor Staff Attorney, September 2012 – Present
Coordinate project’s litigation on bail and right to counsel reform. Pursue impact litigation and advocacy on issues
including juvenile sentencing, police practices, and prosecutorial misconduct.

NEW YORK STATE ATTORNEY GENERAL'S OFFICE - CIVIL RIGHTS BUREAU, New York, NY
Assistant Attorney General, September 2011 - July 2012
Litigate civil rights cases in employment, education, and police misconduct; member of human trafficking work group

THE EQUAL JUSTICE INITIATIVE, Montgomery, Alabama
Staff Attorney, July 2008-August 2011; Legal Fellow, September 2007-July 2008
Represented death row inmates and children sentenced to life without parole.

HON. JANET C. HALL, U.S. DISTRICT COURT, DISTRICT OF CONNECTICUT, Bridgeport, Connecticut
Law Clerk, June 2006 – June 2007

JUVENILE/CRIMINAL DEFENSE CLINIC, NYU School of Law, New York, New York
Clinical Student, August 2005 – May 2006
Provided case support for juvenile and adult clients at the Legal Aid Society; received extensive trial training

THE DEFENDER ASSOCIATION, Seattle, Washington
Legal Intern and Special Assistant to Director Bob Boruchowitz, June 2005 – August 2005
Conducted two misdemeanor jury trials and one oral argument under student practice rule.

BRENNAN CENTER PUBLIC POLICY ADVOCACY CLINIC, NYU School of Law, New York, New York
Criminal Justice Institute Intern, August 2004 – May 2005
Wrote reports and developed surveys evaluating community defense programs.

CAPITAL APPEALS PROJECT, New Orleans, Louisiana
Legal Intern, May 2004 – August 2004
Drafted pretrial writs and motions for capital trial. Drafted sections of briefs in death penalty appeals.
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                                 RANDALL C. MARSHALL
                                ACLU of Alabama Foundation, Inc.
                                        P.O. Box 6179
                                  Montgomery, AL 36106-0179
                                  rmarshall@aclualabama.org

Education:

   University of Colorado School of Law. Boulder, Colorado.
       Juris Doctor, 1982. Order of the Coif.
            Outstanding Achievements Award, Legal Aid & Defender Program, 1982.
            Chair, Board of Directors, Legal Aid & Defender Program, 1981-82.
            American Jurisprudence Award, professional responsibility, 1982.

   University of Northern Colorado. Greeley, Colorado.
       Master of Arts, 1975, mathematics.
            Colorado Scholars’ Program, 1973-74.
            Student-body president, 1973-74.
       Bachelor of Arts, 1973. Majors: mathematics and sociology.
            Outstanding Senior Award 1973.
            Who’s Who in American Universities & Colleges 1973.
            National Student Register 1973-74.
            Lambda Sigma Tau – math/science honorary – 1973.


Employment:

   Acting Executive Director, American Civil Liberties Union of Alabama. December 2016 –
   present.

       Manage daily operations of the office; serve as primary spokesperson for the affiliate;
       ensure financial operations of the affiliate; provide outreach to the public on civil
       liberties matters; collaborate with other organizations and groups on common goals;
       hire and supervise staff; increase financial support through fundraising efforts;
       implement legislative, legal and public education programs to achieve the affiliate’s
       mission.

   Legal Director, American Civil Liberties Union of Alabama. June 2013 – present.

       Supervise and oversee all ACLU litigation in Alabama; participate in litigation; recruit
       and work with ACLU cooperating attorneys; oversee the legal intake department;
       coordinate with the National ACLU Legal Department.

   Legal Director, American Civil Liberties Union of Florida. August 2000 – May 2013.

       Supervise and oversee all ACLU litigation in Florida; participate in litigation; manage
       Legal Department (varied from 6-11 attorneys, 1.5 legal assistants, 2 advocacy
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       coordinators); recruit and work with ACLU cooperating attorneys; oversee the legal
       intake department which receives thousands of complaints a year; coordinate with the
       National ACLU Legal Department.

   Assistant Attorney General, State of Florida. June 1999 – August 2000.

       Litigation practice representing the State of Florida and State employees, primarily in
       42 U.S.C. §1983 actions. Practice in state and federal courts.

   Assistant City Solicitor, City of Pittsburgh, Pennsylvania. February 1997 – June 1999.

       Litigation practice representing the City in civil rights actions, including employment
       litigation. Practice in state and federal trial and appellate courts.

   Private practice. January 1996 – November 1997.

       Federal litigation practice with emphasis on employment and civil rights.

   Senior Attorney, Advocates for Basic Legal Equality, Toledo, Ohio. August 1992 –
   December 1995; May 1987 – December 1990 (on leave, October 1989 – August 1990).

       Federal litigation practice with emphasis on civil rights and employment, both in
       Migrant Farm Worker Unit and Special Litigation Unit. Class action, TRO and
       appellate experience.

   Visiting Professor of Law, The Thomas M. Cooley Law School, Lansing, Michigan. January
   1991 – August 1992; October 1989 – August 1990.

       Supervised law students in provision of legal services through law school’s clinic, Sixty
       Plus Law Center. Taught academic component emphasizing legal practice skills.
       Managed federal impact litigation at Sixty Plus.

   Attorney, Texas Rural Legal Aid, Farm Worker Division, Hereford, Texas. 1982-87.

       Federal litigation practice with emphasis on employment and civil rights. Experience
       with class actions, multiple party litigation, extraordinary relief and federal appellate
       work.

   Research and writing assistant, Center for Labor Education and Research, Boulder,
   Colorado. 1981-82.

       Research and writing assistant to director, a labor arbitrator and professor of law.
       Attended arbitration hearings, performed research and drafted arbitration decisions.

   Law clerk, Boulder County Legal Services, Boulder, Colorado. 1980-81.
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    Law clerk, U.S. Attorney’s Office, Civil Division, Denver, Colorado. Summer 1980.

    Peace Corps Volunteer – Kenya. 1976-78. Mathematics teacher.


Continuing Legal Education Courses Taught / Legal Presentations:

    Keynote Speaker on public service: Auburn University Department of Political Science
    Awards Ceremony & Dinner, March 2017

    Panelist: The Wonderful World of Cooperating Attorneys – ACLU Nationwide Staff
    Conference, April 2014

    Presenter: Impact Litigation, Public Interest Lawyering class, University of Alabama School
    of Law, February 2014

    Panelist: Managing and Operating an ACLU Legal Program – ACLU Nationwide Staff
    Conference, January 2012

    Presenter: Attorney Fees: Ideas from Other Fee Shifting Statutes, Workers’ Injury Law &
    Advocacy Group (“WILG”) 2010 Conference, November 2010

    Presenter: ACLU in the Courts – Key West lawyer’s luncheon, October 2009

    Presenter: Student Rights; Miami-Dade County Student Government Association Student
    Rights Conference, April 2007

    Presenter: Importance of Teaching the First Amendment in Public Schools; “Your First
    Amendment is Showing” project – Miami-Dade County Public Schools, November 2006

    Presenter: CLE – Providing Access to Teen Health: Representation of Minors in Judicial
    Bypass Hearings and Appeals, ACLU Lawyer’s Conference, Miami Beach, July 2006.

    Presenter: “Better Preparing Teen Clients for a Judicial Bypass Hearing” – National
    Abortion Federation Annual Meeting, San Francisco, April 2006.

    Presenter: “First What? A Look at Nike v. Kasky and Public Relations Practice” – University
    of Miami School of Communication, March 2006.

    Presenter: Medical Records and Florida’s Right to Privacy: Rush Limbaugh (a case study);
    ACLU - New Mexico Data Privacy Conference, August 2004.

    Presenter: Pre-Law Lecture Series (ethics and the right of privacy), Office of Undergraduate
    Career Options Counseling and Honors Program, School of Business Administration,
    University of Miami, February 2004.
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    Presenter: CLE – Balancing Freedom, Order, and Equality – joint program of the
    Hillsborough County Bar’s Gender, Ethnic, and Racial Equality Committee, the George
    Edgecomb Bar Association, the Hillsborough Association for Women Lawyers, and the
    Tampa Bay Chapter of the Federal Bar association, January 2002.

    Presenter: Civil Liberties and National Security – Symposium: Preserving Democracy in the
    Age of Global Terrorism, Lynn University, October 2001.

    Presenter: Restoring Civil Rights of Felons, National Consortium of Task Forces and
    Commissions on Racial and Ethnic Bias in the Courts, 2001 Conference: The Experiences of
    Minority Women and Children in the Justice System. May 2001.

    Trainer, Basic Lawyering Skills Training, Toledo, Ohio, September 1995. Committee on
    Regional Training (Michigan, Ohio, West Virginia).

    Trainer, National Migrant Legal Services Training, Ft. Worth, Texas, March 1994. Migrant
    Legal Action Program.

    Employment Discrimination - Title VII and Section 1981, Basic Employment Law Seminar,
    Columbus, Ohio, October 1989. Ohio State Legal Services Association.

    Willfulness under the Fair Labor Standards Act, Experienced Attorneys’ Conference,
    Washington, D.C., February 1989. Migrant Legal Action Program.


Admitted to Practice:

    United States Supreme Court
    United States Court of Appeals: Second, Third, Sixth and Eleventh Circuits
    United States District Courts:
         Northern, Southern and Middle Districts of Alabama
         Northern, Southern and Middle Districts of Florida
         District of Columbia
         Western District of Pennsylvania
         Western District of Michigan
         Northern District of Ohio
         Northern District of Texas
         District of Colorado
    States of Alabama, Colorado, Florida, Michigan, Ohio, Pennsylvania, and Texas


Professional recognition:

    Martindale-Hubbell Rating: AV (1999-present) http://www.martindale.com

    Finalist, Daily Business Review Most Effective Lawyers, 2012 – Public Interest category.
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    Finalist, Daily Business Review Most Effective Lawyers, 2006 – Public Interest category.

    South Florida Top Lawyers 2012, 2013, 2014.


Expert testimony – attorney’s fees:

    Dunn v. Dunn, No. 2:14-cv-00601-MHT-TFM (M.D. Ala., August 2016) (as to
    reasonableness of class action settlement of fees) (by declaration)

    Arcia v. Florida Secretary of State, No. 12-15738 (11th Cir., November 2014), No. 1:12-cv-
    22282 (S.D. Fla., March 2015) (as to reasonable hourly rates in S.D. Fla.) (by declaration)

    IMS Health Incorporated v. Ayotte, No. 06-CV-280-PB (D. N.H., June 2007) (as to
    reasonable hourly rate for fees in S.D. Fla.) (by declaration)

    Davis v. Bank of America, No. 05-80806 (S.D. Fla., May 2006) (as to reasonableness of
    class action settlement and fee award) (by declaration)


Reported Cases:

    First Amendment:

        Martin v. Houston, 196 F.Supp.3d 1258 (M.D. Ala. 2016)

        Martin v. Houston, 176 F.Supp.3d 1286 (M.D. Ala. 2016)

        Wollschlaeger v. Governor of Florida, 760 F.3d 1195 (11th Cir.), vacated and new
        opinion issued, 797 F.3d 859 (11th Cir.), vacated and new opinion substituted, 814 F.3d
        1159 (11th Cir. 2015), rehearing en banc granted, opinion vacated, 649 Fed.Appx. 647,
        2016 WL 2959373 (11th Cir.), aff’d in part, rev’d in part, 848 F.3d 1293 (11th Cir.
        2017)

        Eternal World Television Network, Inc. v. Burwell, 26 F.Supp.3d 1228 (S.D. Ala. 2014)

        City of Fort Lauderdale v. Chuanwen Wang, 115 So.3d 1060 (Fla. 4th DCA 2013)

        Prison Legal News v. Geo Group, Inc., 920 F.Supp.2d 1270 (N.D. Fla. 2013)

        In re Amendments to Rules Regulating the Florida Bar - Subchapter 4-7, Lawyer
        Advertising Rules, 108 So.3d 609 (Fla. 2013)

        State of Florida v. Catalano, 104 So.3d 1069 (Fla. 2012)
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      American Civil Liberties Union of Florida, Inc. v. Dixie County, Fla., 690 F.3d 1244
      (11th Cir. 2012)

      Towbin v. Antonacci, 287 F.R.D. 672 (S.D. Fla. 2012)

      Towbin v. Antonacci, 885 F.Supp.2d 1274 (S.D. Fla. 2012)

      League of Women Voters of Florida v. Browning, 863 F.Supp.2d 1155 (N.D. Fla. 2012)

      American Civil Liberties Union of Florida Inc. v. Dixie County Fla., 828 F.Supp.2d
      1307 (N.D. Fla. 2011), rev’d and remanded, 690 F.3d 1244 (11th Cir. 2012)

      Wollschlaeger v. Farmer, 814 F.Supp.2d 1367 (S.D. Fla. 2011)

      American Civil Liberties Union of Florida Inc. v. Dixie County Fla., 797 F.Supp.2d
      1280 (N.D. Fla. 2011)

      Forrest v. Citi Residential Lending, Inc., 73 So.3d 269 (Fla. 2d DCA 2011)

      Allen v. School Bd. for Santa Rosa County, Florida, 787 F.Supp.2d 1293 (N.D. Fla.
      2011)

      State v. Catalano, 60 So.3d 1139 (Fla. 2d DCA 2011)

      Allen v. School Bd. for Santa Rosa County, Fla., 782 F.Supp.2d 1304 (N.D. Fla. 2011)

      Stelmack v. State, 58 So.3d 874 (Fla. 2d DCA 2010)

      Faculty Senate of Florida Intern. University v. Winn, 616 F.3d 1206 (11th Cir. 2010),
      cert. denied, 133 S.Ct. 21 (2012)

      First Vagabonds Church of God v. City of Orlando, Fla., 610 F.3d 1274 (11th Cir.
      2010), vacated, 616 F.3d 1229 (11th Cir. 2010), district court’s judgment affirmed in
      part and reversed in part, and permanent injunction vacated; portion of panel opinion
      reinstated, 638 F.3d 756 (11th Cir. 2011) (en banc)

      Doe ex rel. Doe v. School Board for Santa Rosa County, Fla., 711 F.Supp.2d 1320
      (N.D. Fla. 2010)

      Doe ex rel. Doe v. School Bd. for Santa Rosa County, Fla., 711 F.Supp.2d 1325 (N.D.
      Fla. 2010)

      Brayshaw v. City of Tallahassee, Fla., 709 F.Supp.2d 1244 (N.D. Fla. 2010)

      Gagliardo v. Branam Children, 32 So.3d 673 (Fla. 3rd DCA 2010)
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      Minor I Doe v. School Board for Santa Rosa County, Florida, 264 F.R.D. 670 (N.D.
      Fla. 2010)

      Evans v. Bayer, 684 F.Supp.2d 1365 (S.D. Fla. 2010)

      Complete Angler, LLC v. City of Clearwater, Fla., 607 F.Supp.2d 1326 (M.D. Fla.
      2009)

      American Civil Liberties Union of Florida, Inc. v. Miami-Dade County School Bd., 557
      F.3d 1177 (11th Cir.), cert. denied, 558 U.S. 1023 (2009)

      Gay-Straight Alliance of Yulee High School v. School Bd. of Nassau County, 602
      F.Supp.2d 1233 (M.D. Fla. 2009)

      Faculty Senate of Florida Intern. University v. Roberts, 574 F.Supp.2d 1331 (S.D. Fla.
      2008), rev’d sub nom Faculty Senate of Florida Intern. University v. Winn, 616 F.3d
      1206 (11th Cir. 2010)

      Frazier v. Winn, 535 F.3d 1279 (11th Cir. 2008), rehearing denied, 555 F.3d 1292 (11th
      Cir.), cert. denied sub nom Frazier v. Smith, 558 U.S. 818 (2009)

      American Civil Liberties Union of Florida, Inc., v. Dixie County, Florida, 570
      F.Supp.2d 1378 (N.D. Fla. 2008)

      Gillman v. School Bd. for Holmes County, Fla., 567 F.Supp.2d 1359 (N.D. Fla. 2008)

      Faculty Senate of Florida Intern. University v. Winn, 477 F.Supp.2d 1198 (S.D. Fla.
      2007)

      American Civil Liberties Union of Florida, Inc., v. Miami-Dade County School Board,
      439 F.Supp.2d 1242 (S.D. Fla. 2006), rev’d, 557 F.3d 1177 (11th Cir.), cert. denied,
      558 U.S. 1023 (2009)

      Frazier v. Alexandre, 434 F.Supp.2d 1350 (S.D. Fla. 2006), aff’d in part, rev’d in part
      sub nom Frazier v. Winn, 535 F.3d 1279 (11th Cir. 2008), rehearing denied, 555 F.3d
      1292 (11th Cir.), cert. denied sub nom Frazier v. Smith, 558 U.S. 818 (2009)

      Cooper v. Dillon, 403 F.3d 1208 (11th Cir. 2005)

      Wyner v. Struhs, 254 F.Supp.2d 1297 (S.D. Fla. 2003)


   Fourth Amendment:

      Lebron v. Secretary, Florida Dept. of Children and Families, 772 F.3d 1352 (11th Cir.
      2014)
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       Lebron v. Wilkins, 990 F.Supp.2d 1280 (M.D. Fla. 2013)

       American Federation of State, County and Mun. Employees Council 79 v. Scott, 717
       F.3d 851 (11th Cir. 2013), cert. denied, 134 S. Ct. 1877 (2014)

       Lebron v. Secretary, Florida Dept. of Children and Families, 710 F.3d 1202 (11th Cir.
       2013)

       American Federation of State County and Mun. Employees (AFSCME) Council 79 v.
       Scott, 857 F.Supp.2d 1322 (S.D. Fla. 2012)

       American Federation of State, County and Mun. Employees (AFSCME) Council 79 v.
       Scott, 278 F.R.D. 664 (S.D. Fla. 2011)

       Lebron v. Wilkins, 277 F.R.D. 664 (M.D. Fla. 2011)

       Lebron v. Wilkins, 277 F.R.D. 466 (M.D. Fla. 2011)

       American Federation of State, County and Mun. Employees (AFSCME) Council 79 v.
       Scott, 277 F.R.D. 474 (S.D. Fla. 2011)

       Lebron v. Wilkins, 820 F.Supp.2d 1273 (M.D. Fla. 2011), aff’d, 710 F.3d 1202 (11th
       Cir. 2013)

       Johnston v. Tampa Sports Authority, 530 F.3d 1320 (11th Cir. 2008)

       Johnston v. Tampa Sports Authority, 490 F.3d 820 (11th Cir. 2007), vacated, 530 F.3d
       1320 (11th Cir. 2008)

       Johnston v. Tampa Sports Authority, 442 F.Supp.2d 1257 (M.D. Fla. 2006), rev’d, 490
       F.3d 820 (11th Cir. 2007)

       Tampa Sports Authority v. Johnston, 914 So.2d 1076 (Fla. 2d DCA 2005)

       Limbaugh v. State, 887 So.2d 387 (Fla. 4th DCA 2004)


   Elections / Voting Rights:

       Mi Familia Vota Education Fund v. Detzner, 891 F.Supp.2d 1326 (M.D. Fla. 2012)

       Florida v. U.S., 885 F.Supp.2d 299 (D.D.C. 2012)

       League of Women Voters of Florida v. Detzner, 283 F.R.D. 687 (N.D. Fla. 2012)
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      Brown v. Secretary of State of Florida, 668 F.3d 1271 (11th Cir. 2012)

      Florida v. U.S., 820 F.Supp.2d 85 (D.D.C. 2011)

      Ford v. Browning, 992 So.2d 132 (Fla. 2008)

      Friedman v. Snipes, 345 F.Supp.2d 1356 (S.D. Fla. 2004)

      American Civil Liberties Union of Florida, Inc. v. Hood, 881 So.2d 664 (Fla. 1st DCA),
      rev’d and quashed without opinion, 888 So.2d 621 (Fla. 2004) (table), receded from,
      Fla. Dept. of State v. Mangat, 43 So.2d 642 (Fla. 2010)

      Wexler v. Lepore, 878 So.2d 1276 (Fla. 4th DCA 2004)

      Florida Caucus of Black State Legislators, Inc. v. Crosby, 877 So.2d 861 (Fla. 1st DCA
      2004)

      Fladell v. Labarga, 775 So.2d 987 (Fla. 4th DCA 2000)

      Harris v. Moore, 752 So.2d 1241 (Fla. 4th DCA 2000) (trial court)


   Due Process:

      Hagopian v. Justice Administrative Com’n, 18 So.3d 625 (Fla. 2d DCA 2009)

      Al Najjar v. Ashcroft, 186 F.Supp.2d 1235 (S.D. Fla. 2002)

      Al Najjar v. Ashcroft, 273 F.3d 1330 (11th Cir. 2001)

      Kaehly v. City of Pittsburgh, 988 F.Supp. 888 (W.D. Pa. 1997)


   Reproductive Freedom / Privacy:

      West Alabama Women’s Center v. Miller, --- F.Supp.3d ---- 2016 WL 6395904 (M.D.
      Ala. Oct. 27, 2016)

      Reprod. Health Servs. v. Strange, 204 F.Supp.3d 1300 (M.D. Ala. 2016)

      West Alabama Women’s Center v. Miller, 318 F.R.D. 143 (M.D. Ala. 2016)

      Planned Parenthood Southeast, Inc. v. Strange, 172 F.Supp.3d 1275 (M.D. Ala. 2016)

      Planned Parenthood Southeast, Inc. v. Bentley, 141 F.Supp.3d 1207 (M.D. Ala. 2015)
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      West Alabama Women’s Center v. Williamson, 120 F.Supp.3d 1296 (M.D. Ala. 2015)

      Planned Parenthood Southeast, Inc. v. Strange, 33 F.Supp.3d 1381 (M.D. Ala. 2014)

      Planned Parenthood Southeast, Inc. v. Strange, 33 F.Supp.3d 1330 (M.D. Ala. 2014)

      Planned Parenthood Southeast, Inc. v. Strange, 9 F.Supp.3d 1272 (M.D. Ala. 2014)

      Planned Parenthood Southeast, Inc. v. Bentley, 951 F.Supp.2d 1280 (M.D. Ala. 2013)

      Burton v. State, 49 So.3d 263 (Fla. 1st DCA 2010)

      In re Doe 07-B, 973 So.2d 627 (Fla. 1st DCA 2008)

      In re Doe, 973 So.2d 548 (Fla. 2d DCA), rev. denied, 975 So.2d 428 (Fla. 2008) (table)

      In re Doe, 948 So.2d 30 (Fla. 1st DCA 2006)

      In re Doe, 924 So.2d 935 (Fla. 1st DCA 2006)

      In re Doe, 932 So.2d 278 (Fla. 2d DCA 2005)

      Schiavo ex rel. Schindler v. Schiavo, 357 F.Supp.2d 1378 (M.D. Fla.), aff’d, 403 F.3d
      1223 (11th Cir.), reh’g en banc denied, 403 F.3d 1261 (11th Cir.), stay denied, 544 U.S.
      945, 125 S.Ct. 1692 (2005)

      Schiavo ex rel Schindler v. Schiavo, 358 F.Supp.2d 1161 (M.D. Fla.), aff’d, 403 F.3d
      1289 (11th Cir.), reh’g denied, 404 F.3d 1282 (11th Cir. 2005), reh’g en banc denied,
      404 F.3d 1270 (11th Cir. 2005), stay denied, 544 U.S. 957, 125 S.Ct. 1722 (2005)

      Bush v. Schiavo, 885 So.2d 321 (Fla. 2004)

      Bush v. Schiavo, 871 So.2d 1012 (Fla. 2d DCA 2004)

      Schindler v. Schiavo, 866 So.2d 140 (Fla. 2d DCA 2004)

      Bush v. Schiavo, 866 So.2d 136 (Fla. 2d DCA 2004)

      North Florida Women’s Health and Counseling Services, Inc. v. State, 866 So.2d 612
      (Fla. 2003)

      In re Guardianship of J.D.S., 864 So.2d 534 (Fla. 5th DCA 2004)

      Bush v. Schiavo, 861 So.2d 506 (Fla. 2d DCA 2003)

      G.P. v. State of Florida, 842 So.2d 1059 (Fla. 4th DCA 2003)
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   LGBT Rights:

      Strawser v. Strange, 190 F.Supp.3d 1078 (S.D. Ala. 2016)

      Strawser v. Strange, 307 F.R.D. 604 (S.D. Ala. 2015)

      Strawser v. Strange, 105 F.Supp.3d 1323 (S.D. Ala. 2015), summarily affirmed, No. 15-
      12508 (11th Cir. Oct. 20, 2015)

      Strawser v. Strange, 100 F.Supp.3d 1285 (S.D. Ala. 2015)

      Strawser v. Strange, 100 F.Supp.3d 1276 (S.D. Ala. 2015)

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      Strawser v. Strange, 44 F.Supp.3d 1206 (S.D. Ala. 2015)

      D.M.T. v. T.M.H., 129 So.3d 320 (Fla. 2013)

      Gay-Straight Alliance of Yulee High School v. School Board of Nassau County, 602
      F.Supp.2d 1233 (M.D. Fla. 2009)

      Gonzalez v. School Bd. of Okeechobee County, 571 F.Supp.2d 1257 (S.D. Fla. 2008)

      Gonzalez v. School Bd. of Okeechobee County, 250 F.R.D. 565 (S.D. Fla. 2008)

      Gay-Straight Alliance of Okeechobee High School v. School Bd. of Okeechobee County,
      242 F.R.D. 644 (S.D. Fla. 2007)

      Gay-Straight Alliance of Okeechobee High School v. School Bd. of Okeechobee County,
      483 F.Supp.2d 1224 (S.D. Fla. 2007)

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      477 F.Supp.2d 1246 (S.D. Fla. 2007)

      Advisory Opinion To Attorney General re Florida Marriage Protection Amendment,
      926 So.2d 1229 (Fla. 2006)

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      Lofton v. Kearney, 157 F.Supp.2d 1372 (S.D. Fla. 2001)
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   Attorneys’ Fees and Costs:

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       Strawser v. Strange, 202 F.Supp.3d 1318 (S.D. Ala. 2016)

       Bivins v. Wrap it Up, Inc., 548 F.3d 1348 (11th Cir. 2008)

       Sole v. Wyner, 551 U.S. 74 (2007)


   Access to Courts / Jurisdiction / Ripeness / Standing / Mootness / Supremacy Clause:

       Doe v. Hobson, 300 F.R.D. 576 (M.D. Ala. 2014)

       Doe v. Hobson, 17 F.Supp.3d 1141 (M.D. Ala. 2014)

       American Federation of State, County, and Mun. Employees (AFSCME) Council 79 v.
       Scott, 949 F.Supp.2d 1239 (S.D. Fla. 2013)

       Achord v. Osceola Farms Co., 52 So.3d 699 (Fla. 4th DCA 2010)


   Education:

       Bush v. Holmes, 919 So.2d 392 (Fla. 2006)

       Bush v. Holmes, 886 So.2d 340 (Fla. 1st DCA 2004), aff’d on other grounds, 919 So.2d
       392 (Fla. 2006)

       Bush v. Holmes, 867 So.2d 1270 (Fla. 1st DCA 2004)


   Housing:

       Gourlay v. Forest Lake Estates Civic Ass’n of Port Ritchey, Inc., 276 F.Supp.2d 1222
       (M.D. Fla. 2003), vacated, 2003 WL 22149660 (M.D. Fla. Sept. 16, 2003)


   Religious Freedom:

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      Freeman v. Department of Highway Safety and Motor Vehicles, 924 So.2d 48 (Fla. 5th
      DCA 2006), rehearing granted and substituting opinion for 2005 WL 2108094 (Fla. 5th
      DCA, September 2, 2005), review denied, 940 So.2d 1124 (Fla. 2006) (table)


   Police / Governmental Misconduct:

      Exile v. Miami-Dade County, 35 So.3d 118 (Fla. 3rd DCA 2010)

      Department of Transp. v. City of Miami, 20 So.3d 908 (Fla. 3rd DCA 2009)

      Houston v. Williams, 547 F.3d 1357 (11th Cir. 2008)

      Tristani v. City of Pittsburgh, 755 A.2d 52 (Pa. Commonwealth 2000)

      Gonzalez v. Monty, 89 F.Supp.2d 1347 (S.D. Fla. 2000)

      Mendlow v. Pennsylvania, 189 F.3d 461 (2d Cir. 1999) (table), text of opinion reported
      at 1999 WL 710260, 1999 U.S. App. LEXIS 21374 (2d Cir. 1999)

      Nernberg v. City of Pittsburgh, 50 F.Supp.2d 437 (W.D. Pa.), aff’d without opinion, 205
      F.3d 1329 (3rd Cir. 1999)

      Commonwealth of Pennsylvania v. Williams, 729 A.2d 603 (Pa. Super. 1999)

      Thomas v. City of Pittsburgh, 34 F.Supp.2d 965 (W.D. Pa. 1999)

      Williams v. City of Pittsburgh, 32 F.Supp.2d 236 (W.D. Pa.1998)

      Trautman v. Lagalski, 28 F.Supp.2d 327 (W.D. Pa. 1998)

      Kelly v. Conn, 146 P.L.J. 380 (Allegheny County Court of Common Pleas 1998)

      Commonwealth of Pennsylvania v. Good, 146 P.L.J. 286 (Allegheny County Court of
      Common Pleas 1997)


   Employment:

      Hopp v. City of Pittsburgh, 194 F.3d 434 (3rd Cir. 1999)

      Epps v. City of Pittsburgh, 33 F.Supp.2d 409 (W.D. Pa. 1998)

      Brown v. Winkle, 715 F.Supp. 195 (N.D. Ohio 1989)
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   Farmworker:

      Romero-Vargas v. Shalala, 907 F.Supp. 1128 (N.D. Ohio 1995)

      Sanchez v. Overmyer, 891 F.Supp. 1253 (N.D. Ohio 1995); 845 F.Supp. 1178 (N.D.
      Ohio 1993); 845 F.Supp. 1183 (N.D. Ohio 1993)

      Flores v. Rios, 36 F.3d 507 (6th Cir. 1994)

      Cruz v. Vel-A-Da, Inc., 127 Lab. Cas. (CCH) ¶33,072, ¶33,073, ¶33,074 (N.D. Ohio
      1993)

      In re Reyes, 814 F.2d 168 (5th Cir. 1987), cert. denied, 487 U.S. 1235 (1988)

      Diaz v. Robert Ruiz, Inc., 808 F.2d 427 (5th Cir. 1987)
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                                CERTIFICATE OF SERVICE

       I hereby certify that arrangements have been made to, on this date, deliver a true and

conect copy of the foregoing by hand delivery to the following at the below addresses:

       David Cofield, Sheriff                             Hon. Jill Puckett, Magistrate
       Randolph County Sheriffs' Office                   Randolph County District Court
       1 N Main Street                                    1 N Main Street
       Wedowee, AL 36278                                  Wedowee, AL 36278

       Christopher May, Circuit Clerk                     Hon. Clay Tinney, Judge
       Randolph County Circuit Court                      Randolph County District Court
       1 N Main Street                                    1 N Main Street
       Wedowee, AL 36278                                  Wedowee, AL 36278

Fom1al proof of service will be filed with the Court when completed.

       I further certify that arrangements have been made to, on this date, deliver a true and

correct courtesy copy of the foregoing by hand delivery and by electronic mail to the following:

       James W. "Jim" Davis, Section Chief                Jamie H. Kidd
       Constitutional Defense Section                     J. Randall McNeill
       Office of the Attorney General                     WEBB & ELEY, P.C.
       501 Washington Avenue                              P.O. Box 240909
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       E: jimdavis@ago.state.al.us                        E: jkidd@webbeley.com
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       John Alvin Tinney
       Randolph County Attorney
       P.O. Box 1430
       Roanoke, AL 36274-9121
       E: johntilmeyattom ey@gmail.com

on this May 18, 2017.


                                     Samuel Brooke
